                  IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF ALASKA


 UNITED STATES OF AMERICA,

                        Plaintiff,

                   v.

 MICHAEL WAYNE HANZUK, II,                 Case No. 3:22-cr-00009-SLG-KFR

                        Defendant.


       ORDER RE FINAL REPORT AND RECOMMENDATION OF THE
           MAGISTRATE JUDGE UPON A PLEA OF GUILTY

      A plea agreement was filed in this case at Docket 32. Pursuant to Rule 11

of the Federal Rules of Criminal Procedure, this matter was referred to the

Honorable Magistrate Judge Kyle F. Reardon by the District Court, with the written

and oral consents of Defendant, counsel for Defendant, and counsel for the United

States. A proposed change of plea hearing was held before the magistrate judge

at which Defendant entered a guilty plea to Count 1 of the felony Information, which

charges a violation of 18 U.S.C. § 371 – Conspiracy to Violate the Clean Air Act.

      Judge Reardon issued a Final Report and Recommendation at Docket 36,

in which he recommended that the District Court accept Defendant’s plea of guilty

to Count 1 of the Felony Information. No objections to the Final Report and

Recommendation have been filed.




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      The matter is now before this Court pursuant to 28 U.S.C. § 636(b)(1). The

Court has reviewed the Final Report and Recommendation and adopts it.

Accordingly, IT IS ORDERED that the Court ACCEPTS Defendant’s plea of guilty

to Count 1 of the felony Information – Conspiracy to Violate the Clean Air Act, and

Defendant is adjudged GUILTY of Count 1. An Imposition of Sentence hearing

has been scheduled for August 31, 2022, at 11:00 a.m. in Anchorage Courtroom

2.

      DATED this 31st day of May, 2022, at Anchorage, Alaska.

                                            /s/ Sharon L. Gleason
                                            UNITED STATES DISTRICT JUDGE




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